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                                            #:3556



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 9                              UNITED STATES DISTRICT COURT
10               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
11
12 UNITED STATES OF AMERICA,                         CASE NO. 2:16-cr-00412-FMO-1
13                     Plaintiff,                    DEFENDANT DAVID MICHAEL
                                                     JENSEN’S REQUEST TO MODIFY
14               vs.                                 JUDGMENT AND COMMITMENT
15 DAVID MICHAEL JENSEN,                             Assigned to Hon. Fernando M. Olguin
16                     Defendant.
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                         DEFENDANT DAVID JENSEN’S REQUEST TO MODIFY JUDGMENT
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 1               Defendant David Michael Jensen respectfully requests that the Court modify
 2 its Judgment and Commitment Order (Dkt. 634) (the “Judgment”) in order to clarify
 3 that during his 18-month period of home confinement, Mr. Jensen may leave his
 4 residence in order to continue to provide care for his dependent brothers.
 5               Mr. Jensen was sentenced on January 18, 2024, and the Court issued its
 6 Judgment on January 23, 2024. Paragraph 11 of the Judgment carves out certain
 7 activities in which Mr. Jensen may participate during his period of home
 8 confinement. Among other things, the Judgment provides that Mr. Jensen may leave
 9 his home for family members’ “medical appointments and procedures” and for “all
10 activities relating to the care or education of his grandchildren.” There is no express
11 carve-out, however, for Mr. Jensen to leave his home in order to attend to his
12 dependent brothers’ care (outside of medical appointments and procedures) as he
13 has done for many years. The care that Mr. Jensen has provided for his brothers
14 includes bringing them their medication, groceries, clothing, and other supplies, as
15 well as assisting with their in-home care. For example, Mr. Jensen is often necessary
16 to help a home care provider lift his brother. See Dkt Nos. 621-627.
17               The defense believes that the Court intended to permit Mr. Jensen to continue
18 providing this care to his brothers in their home, and that express authority for
19 Mr. Jensen to do so may inadvertently have been omitted from the Judgment. The
20 defense has requested a copy of the transcript from the sentencing hearing, but it has
21 not yet been delivered. Pursuant to Federal Rule of Criminal Procedure 35(a), the
22 Court may correct the Judgment: “Within 14 days after sentencing, the court may
23 correct a sentence that resulted from arithmetical, technical, or other clear error.”
24 The defense has asked the government whether it has any objection to Mr. Jensen’s
25 requested modification of the Judgment, but as of the date of filing, the government
26 has not provided its position.
27               Specifically, Mr. Jensen requests that the Court modify paragraph 11 of the
28 Judgment by adding “or to the care of his brothers” to the provision permitting

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                         DEFENDANT DAVID JENSEN’S REQUEST TO MODIFY JUDGMENT
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 1 Mr. Jensen to attend “all activities relating to the care or education of his
 2 grandchildren.” That provision would then permit Mr. Jensen to leave his home for:
 3 “all activities relating to the care or education of his grandchildren or to the care of
 4 his brothers.”
 5
 6 DATED: January 29, 2024               Benjamin N. Gluck
                                         Nicole R. Van Dyk
 7
                                         Naomi S. Solomon
 8                                       Bird, Marella, Boxer, Wolpert, Nessim,
                                         Drooks, Lincenberg & Rhow, P.C.
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11                                       By:
12                                                         Nicole R. Van Dyk
13                                             Attorneys for David Michael Jensen

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                    DEFENDANT DAVID JENSEN’S REQUEST TO MODIFY JUDGMENT
